Case 6:11-cr-00042-JDK-JDL         Document 516        Filed 12/20/12      Page 1 of 2 PageID #:
                                          1863



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

UNITED STATES OF AMERICA                       §
                                               §
V.                                             §             CRIMINAL NO. 6:11-CR-42-11
                                               §
RODERICK G. JACKSON                            §

                          REPORT & RECOMMENDATION OF
                         UNITED STATES MAGISTRATE JUDGE

       On December 18, 2012, the Court conducted a hearing to consider the government’s

petition to revoke the supervised release of Defendant Roderick G. Jackson. The government

was represented by Richard Moore, Assistant United States Attorney for the Eastern District of

Texas, and Defendant was represented by court-appointed federal defender Wayne Dickey.

       Defendant originally pled guilty to the offense of Conspiracy to Possess and with Intent

to Distribute Hydrocodone and Marijuana, a Class C felony. The offense carried a statutory

maximum imprisonment term of 10 years. The United States Sentencing Guideline range, based

on a total offense level of 15 and a criminal history category of II, was 21 to 27 months. On

October 17, 2012, District Judge Leonard Davis sentenced Defendant to 21 months

imprisonment and 2 years supervised release subject to the standard conditions of release, plus

special conditions to include a $100 special assessment; financial disclosure; and substance

abuse testing and treatment.      On October 29, 2012, Defendant completed the term of

imprisonment and began his term of supervised release.

       Under the terms of supervised release, Defendant was required, in relevant part, to report

to the probation office within 72 hours of release from the custody of the Bureau of Prisons. In

its petition, the government alleges that Defendant violated his term of supervised release by

failing to report or call the U.S. Probation Office following his release from confinement.
Case 6:11-cr-00042-JDK-JDL          Document 516        Filed 12/20/12      Page 2 of 2 PageID #:
                                           1864



       If the Court finds by a preponderance of the evidence that Defendant violated the

conditions of supervised release by failing to report to the probation office within 72 hours of his

release, Defendant will have committed a Grade C violation. U.S.S.G. § 7B1.1(a). The Court

may (A) revoke probation or supervised release; or (B) extend the term of probation or

supervised release and/or modify the conditions of supervised release. U.S.S.G. § 7B1.3(a)(2).

Considering Defendant’s criminal history category of II, the Guideline imprisonment range for a

Grade C violation is 4 to 10 months. U.S.S.G. 7B1.4(a).

       At the hearing, the parties indicated they had come to an agreement to resolve the petition

whereby Defendant would plead true to the government’s allegation.               In exchange, the

government agreed to recommend that Defendant serve 4 months of imprisonment, with no

supervised release to follow.
       .
       Pursuant to the Sentencing Reform Act of 1984, and the agreement of the parties, the

Court RECOMMENDS that Roderick G. Jackson be committed to the custody of the Bureau of

Prisons for a term of imprisonment of 4 months, with no supervised release to follow.

       Defendant has waived his right to object to the findings of the Magistrate Judge in this

matter so the Court will present this Report and Recommendation to District Leonard Davis for

adoption immediately upon issuance.
          SIGNED this 19th day of December, 2011.
         So ORDERED and SIGNED this 20th day of December, 2012.
